Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 1 of 26 PageID #: 14




           Exhibit A
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 2 of 26 PageID #: 15
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 3 of 26 PageID #: 16
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 4 of 26 PageID #: 17
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 5 of 26 PageID #: 18
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 6 of 26 PageID #: 19
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 7 of 26 PageID #: 20
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 8 of 26 PageID #: 21
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 9 of 26 PageID #: 22
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 10 of 26 PageID #: 23
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 11 of 26 PageID #: 24
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 12 of 26 PageID #: 25
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 13 of 26 PageID #: 26
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 14 of 26 PageID #: 27
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 15 of 26 PageID #: 28
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 16 of 26 PageID #: 29
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 17 of 26 PageID #: 30
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 18 of 26 PageID #: 31
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 19 of 26 PageID #: 32
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 20 of 26 PageID #: 33
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 21 of 26 PageID #: 34
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 22 of 26 PageID #: 35
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 23 of 26 PageID #: 36
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 24 of 26 PageID #: 37
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 25 of 26 PageID #: 38
Case: 4:17-cv-02837-JCH Doc. #: 1-1 Filed: 12/06/17 Page: 26 of 26 PageID #: 39
